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                                       UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEW MEXICO

                                     Before the Honorable KEVIN R. SWEAZEA
                                     CRIMINAL CLERK’S MINUTES at Las Cruces
                                                                     Recording
Case Number:        CR 18-1254 RB            Date:    4/26/2018                      LCR ANIMAS
                                                                     Information:
Clerk:              V. RUIZ                  Type of Hearing:        INITIAL APPEARANCE


Defendant(s):                                         Attorney(s):                                 Appt’d.   Ret’d.
                                                      BARBARA MANDEL & RACHEL
ALONSO P. GRADO, JR.,                                                                                ☐         ☐
                                                      NATHANSON, AFPD STANDING IN
STEPHAN E. MORALES                                                                                   ☐         ☐
                                                                                                     ☐         ☐
Assistant            SARAH DAVENPORT
                                                      Interpreter:   N/A
U.S. Attorney:       SELESIA WINSTON
                                                      Court in
Pretrial Officer:    LAURA GARIBAY                                   11:15 a.m.-11:19; 11:44-11:51 a.m. (7 min)
                                                      Session:


☐        Agent sworn in open Court

☒        Court questions Defendant regarding his/her physical and mental condition, age, education

☒        Court advises Defendant(s) of possible penalties and all constitutional rights

☒        ORAL Motion for Detention Hearing by Government

☒        Court grants ☒ Government’s ☐ Defense counsel’s oral motion to continue detention hearing

☐        Waiver of preliminary hearing & right to grand jury presentment filed in open court

☐        Set for change of plea on



☒        Defendant in custody

☐        Conditions of Release continued on Page 2

         Other: ARRAIGNMENT/DETENTION HEARING WILL BE SET ON TUESDAY, 5/01/18 AT 1:30 P.M.
 ☒
         CARLOS IBARRA WILL BE APPOINTED FOR DEFENDANT MORALES.
